USCA4 Appeal: 24-6179      Doc: 12         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-6179


        MICHAEL ANDREW PETERSON,

                            Petitioner - Appellant,

                     v.

        CHADWICK DOTSON,

                            Respondent - Appellee.



        Appeal from the United States District Court for the Eastern District of Virginia, at
        Norfolk. Arenda L. Wright Allen, District Judge. (2:23-cv-00346-AWA-RJK)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Dismissed by unpublished per curiam opinion.


        Michael Andrew Peterson, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 24-6179         Doc: 12      Filed: 08/26/2024      Pg: 2 of 2




        PER CURIAM:

               Michael Andrew Peterson seeks to appeal the district court’s order accepting the

        recommendation of the magistrate judge and dismissing as untimely Peterson’s 28 U.S.C.

        § 2254 petition. See Gonzalez v. Thaler, 565 U.S. 134, 148 &amp; n.9 (2012) (explaining that

        § 2254 petitions are subject to one-year statute of limitations, running from latest of four

        commencement dates enumerated in 28 U.S.C. § 2244(d)(1)). The order is not appealable

        unless a circuit justice or judge issues a certificate of appealability.         28 U.S.C.

        § 2253(c)(1)(A). A certificate of appealability will not issue absent “a substantial showing

        of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). When, as here, the district

        court denies relief on procedural grounds, the prisoner must demonstrate both that the

        dispositive procedural ruling is debatable and that the petition states a debatable claim of

        the denial of a constitutional right. Gonzalez, 565 U.S. at 140-41 (citing Slack v. McDaniel,

        529 U.S. 473, 484 (2000)).

               We have independently reviewed the record and conclude that Peterson has not

        made the requisite showing. Accordingly, we deny a certificate of appealability and

        dismiss the appeal. We dispense with oral argument because the facts and legal contentions

        are adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                       DISMISSED




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